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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

  ARTHUR and RENEE EMBREE,                          )
                                                    )
                          Plaintiff,                )    Cause No. 4:20-cv-1679
         vs.                                        )
                                                    )
  J&M SECURITIES, LLC,                              )
                                                    )
                          Defendant.                )

                       DEFENDANT J&M SECURITIES, LLC’S
                            NOTICE OF REMOVAL

        COMES NOW Defendant J&M Securities, LLC (“J&M”), by and through its

 undersigned attorneys, in support of this Notice of Removal, states to this Honorable Court

 as follows:

                                 THE REMOVED ACTION

        1.      J&M is a Defendant in a civil action that was brought on or about October

 22, 2020, by Plaintiffs, Arthur and Renee Embree in the Circuit Court of the County of

 Saint Louis, Missouri.

                                PAPERS FROM REMOVED ACTION

        2.      Pursuant to 28 U.S.C. § 1446(a), J&M has attached to this Notice of

 Removal as Exhibit “1,” a copy of the State Court file for the removed case, including a

 copy of all process, summons and pleadings served on J&M as of the date of removal.

                          THE VENUE REQUIREMENT IS SATISFIED

        3.      Venue of this removal is proper under 28 U.S.C. § 1441 (a) because this

 Court is the United States District Court for the district and division corresponding to the

 place where the State Court action is pending.



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                                THE REMOVAL IS TIMELY

        4.         Plaintiff’s Petition was served upon J&M on or about October 28, 2020.

 This Notice of Removal is filed within thirty (30) days of J&M’s receipt of that copy of

 Plaintiff’s Petition, and is thus timely filed under 28 U.S.C. § 1446 (b).

                                  FEDERAL QUESTION

        5.         According to Plaintiff’s Petition, this is an action, in part, for alleged

 violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”),

 the Missouri Merchandise Practices Act (“MMPA”), and the state common-law counts for

 abuse of process and wrongful garnishment.

        6.         Under FDCPA § 1692k (d), this Court has original federal question subject

 matter jurisdiction of this action without regard to the amount in controversy. In addition,

 this Court has subject matter jurisdiction of this case and over the parties pursuant to 28

 U.S.C. § 1331. This Court also has supplemental jurisdiction over the MMPA count, and

 the common-law counts of abuse of process and wrongful garnishment, under 28 U.S.C.

 §1367, as they form part of the same case or controversy as the claims brought under the

 FDCPA. Accordingly, this action may be removed to this Court, as provided by 28 U.S.C.

 § 1441(a), (b).

                                FILING OF REMOVAL PAPERS

        7.         Under 28 U.S.C. § 1446(d), written notice of the removal of this action has

 been given simultaneously to Plaintiff’s counsel, and a Notice to Clerk of Removal has

 been simultaneously filed with the Circuit Court of the County of Saint Louis, Missouri.




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        WHEREFORE, Defendant, J&M Securities, LLC, does hereby remove the above

 captioned action from the Circuit Court of the County of Saint Louis, Missouri, and

 requests that further proceedings be conducted in this Court as provided by law.

         Dated: November 27, 2020.


                                                 Respectfully submitted,

                                                 FRANKEL, RUBIN, KLEIN, SIEGEL,
                                                    PAYNE & PUDLOWSKI, P.C.


                                                 By: /S/ MAYER S. KLEIN
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                                                    231 S. Bemiston, Suite 1111
                                                    Clayton, Missouri 63105
                                                    Telephone: (314) 725-8000
                                                    Facsimile: (314) 726-5837




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing
 documents was filed electronically through the Courts electronic filing system and served
 upon all counsel of record in the underlying state court lawsuit.


                                                     /S/ MAYER S. KLEIN
                                                     MAYER S. KLEIN




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